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                                                                              NOV 1 3 2018
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division



UNITED STATES OF AMERICA,


       V.                                          CRIMINAL ACTION NO.4:18cr23

BYRON HALE DELAVAN,

                      Defendant.



                        MEMORANDUM OPINION AND ORDER


       This matter comes before the Court the Govemment's Motion to Inquire About a Possible

Conflict of Interest. The Court conducted a hearing on the matter on October 31, 2018. This

Memorandum serves to explain the Court's ruling from the bench and the preceding Order. For

the reasons set forth below, Trey R. Kelleter is hereby DISQUALIFIED from further

representation of Byron Hale Delavan in this matter.

                      I. FACTUAL AND PROCEDURAL HISTORY


       On March 12, 2018, a Newport News Division Grand Jury from the Eastem District of

Virginia retumed a twenty-three count indictment against Byron Hale Delavan ("Defendant") as

well as co-defendant Neil Curry Smith. ECF No. 3. On July 17,2018,the Defendant was charged

in a thirty-five count Superseding Indictment. ECF No. 36. Throughout the proceedings, the

Defendant has been represented by Trey R. Kelleter.

       The instant case involves tax fraud and money laundering charges related to the

Defendant's use of numerous entities that he owned. Specific transactions are alleged in the
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Superseding Indictment, including checks that were issued to individuals signed by Missy

Andrews ("Andrews") at the direction of the Defendant. Id. Andrews was familiar with various

financial transactions conducted by the Defendant as she was the Defendant's assistant and a

signatory on various accounts of the Defendant and his businesses. She is an anticipated witness

for the Government and was interviewed by IRS-CID on December 15, 2016. ECF No. 57.

       Separate from the instant case, the Defendant was previously the subject of prior

investigations by the Federal Bureau of Investigation. Id.                 On July 12, 2010, Andrews was

interviewed by FBI agents in the course of the prior investigation. Id. During that interview,

Andrews was represented by Kelleter. Id. Andrews was questioned about her employment with

the defendant, his various business entities and the financial arrangements and transactions related

to those entities and the defendant. Id. According to testimony by Special Agent Michael

McMahon,Kelleter indicated to federal investigators before the interview and during the interview

that he represented Andrews.' Throughout the interview, Kelleter intermittently objected to lines

of questioning and instructed Andrews not to respond to various questions. A twelve-page FBI

FD-302 form ("the 302") was prepared as a result of that interview, and Attorney's Kelleter's

representation of Andrews is reflected in the first paragraph of the 302.

       The Govemment noticed the issue on October 25, 2018, and it directly informed Attomey

Kelleter about the issue of his prior representation of an anticipated govemment witness at trial.

ECF No. 57.




       'During the hearing, Kelleter indicated he did not recall his relationship to Andrews and Andrews testified
       she did not recall whether Kelleter represented her at the interview. However, a letter provided to the Court
       indicates that on June 25, 2010, Kelleter "represent[ed] Mr. Delavan regarding any federal investigation
       that relates to him or any entity with which he is associated."
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                                  II. LEGAL STANDARDS

       The Sixth Amendment guarantees a criminal defendant the right to counsel of one's

choosing. See Powell v. Alabama, 287 U.S. 45, 53 (1932). However, this right is not absolute,

and "the essential aim of the Amendment is to guarantee an effective advocate for each criminal

defendant rather than to ensure that a defendant will inexorably be represented by the lawyer whom

he prefers." Wheat v. United States,        St. \52>,\59         A defendant "should be afforded

a fair opportunity to secure counsel of his own choice,"Powell,287 U.S. at 53, and the court"must

recognize a presumption in favor of[a defendant's] counsel of choice," Wheat, 486 U.S. at 164.

However,"a court confronted with and alerted to possible conflicts of interest must take adequate

steps to ascertain whether the conflicts warrant separate counsel." Id. at 160; see also Fed. R.

Crim. P. 44(c)(2). In balancing the competing interests at play, a district court has "substantial

latitude" to deny a waiver of the conflict upon a "showing of a serious potential for conflict."

 Wheat,486 U.S. at 163-64.

                                       III. DISCUSSION



       The Court finds that Kelleter's continued representation of Defendant represents a serious

potential conflict due to his prior representation of Andrews. The Govemment plans to call

Andrews as a witness to prove the existence and extent of a tax fraud and money laundering

scheme in which Defendant is alleged to have committed. Thus, at trial, one of Kelleter's

objectives will be to impeach Andrews' credibility.        Kelleter may have obtained material

information during his brief representation of Andrews that may impact his cross-examination of

Andrews during trial.    This situation presents a clear conflict between Kelleter's current
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representation of Defendant and Kelleter's duty of loyalty to his former client, Andrews. Under

similar circumstances, the United States Supreme Court and several lower courts have disqualified

the defense attorney. See, e.g.. Wheat,486 U.S. at 163-64; United States v. Stewart, 185 F.3d 112,

121 (3d Cir. 1999)(". . .[W]e have recognized that conflicts arise where a 'defendant seeks to

waive his right to conflict-free representation in circumstances in which the counsel of his choice

may have divided loyalties due to concurrent or prior representation of another client who is a co-

defendant, a co-conspirator, or a government witness.^ ")(citation omitted); United States v.

Millsaps, 157 F.3d 989, 995-96 (5th Cir. 1998)(upholding district court's disqualification of a

defense attomey from representing a defendant where the attorney also represented a govemment

witness previously); United States v. Moscony, 927 F.2d 742, 750 (3d Cir. 1991)("Conflicts of

interest arise whenever an attorney's loyalties are divided, and an attomey who cross-examines

former clients inherently encounters divided loyalties.")(citations omitted).

       While the Court endeavors to honor defendants' choice of counsel, it also must ensure an

effective advocate for each defendant and here, this latter task requires disqualifying a conflicted

attomey. See Wheat, 486 U.S. at 159; see also United States v. Gonzalez-Lopez, 548 U.S. 140,

151-52(2006)("Nor may a defendant... demand that a court honor his waiver of conflict-free

representation.").^

       Accordingly, the Court finds that Kelleter must withdraw from representation of the

Defendant. The case will be rescheduled After the Defendant has secured new counsel, until which

time Defendant's additional motions, ECF Nos. 43-36, will not be reviewed by the Court.



       ^ The Defendant has not requested the Court to wave a potential conflict. However, ifthe Defendant
       requested a waiver, under these facts the Court would not grant a waiver.
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                                         IV. CONCLUSION

       For the reasons set forth above, Defendant's counsel, Trey R. Kelleter is hereby

DISQUALIFIED from further representation of Defendant in this matter.            Kelleter is

DIRECTED to advise the Court forthwith regarding whether Defendant will retain new counsel

or require a court-appointed attorney.

       IT IS SO ORDERED.




                                                          Raymond A.Jackson
Norfolk, Virginia                                                    Dislrict Judge
November ^,2018
